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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,

                              Plaintiff,                       ORDER ON ENTICEMENT
        v.                                                         CONVICTION

 JAY LIESTMAN,                                                         20-CR-06-jdp

                              Defendant.


       The government seeks to introduce evidence of defendant’s conviction for child

enticement under Federal Rules of Evidence 404(b), and, if defendant testifies, under Rule

609(a)(1) for impeachment. Dkt. 27. I’ve already ruled that the government may use evidence

of defendant’s conviction for possession of child pornography under Rule 414 for any purpose,

including defendant’s propensity regarding child pornography. Dkt. 64. But I will not allow

the government to use the child enticement conviction.

       The government contends that the conviction is admissible to show “knowledge, intent,

opportunity, and lack of mistake.” Dkt. 63, at 2; Dkt. 27, at 2. The government does not

explain how the child enticement conviction relates to any of these issues. The only potential

relationship that I can see is that the conviction shows defendant’s sexual interest in children,

which arguably relates to motive or intent. But it also cuts dangerously close to propensity, the

prohibited purpose under Rule 404(b). I am not persuaded that the enticement conviction

serves any permissible purpose under Rule 404(b).

       The evidence of the child enticement conviction is highly, and unfairly, prejudicial. The

government has strong evidence with the child pornography conviction, admissible even for

propensity purposes under Rule 414. That conviction also provides evidence of defendant’s
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sexual interest in children, and his more pertinent knowledge of child pornography and how it

is found and transmitted. The enticement conviction adds little, and is thus needlessly

cumulative. Because it involves an attempted hands-on offense, it carries even greater stigma

than the child pornography conviction, and it suggests a much greater threat to potential

victims. The attempted child enticement conviction is very different offense than the one

defendant faces now, and admitting it would raise the potential for the jury to convict him on

a basis other than evidence that he committed the crime charged.

       I will not admit the conviction even for impeachment purposes. Defendant may be

impeached—with extreme effectiveness—with his conviction for child pornography. So the

enticement conviction has minimal probative value. But it creates significant unfair prejudice.

Accordingly, it need not be admitted under Rule 609(a)(1)(B), and I decline to allow it.




       Entered September 18, 2020.

                                           BY THE COURT:

                                           /s/
                                           ________________________________________
                                           JAMES D. PETERSON
                                           District Judge




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